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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

YIFAN SHEN, et al.,
             Plaintiffs,
v.                                             Case No. 4:23-cv-208-AW-MAF
WILTON SIMPSON, etc., et al.,
              Defendants.


 PLAINTIFFS’ MOTION FOR EXPEDITED BRIEFING & HEARING ON
     PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

      Plaintiffs move this Court for an order setting an expedited briefing and

hearing schedule on Plaintiffs’ Emergency Motion for a Preliminary Injunction

(“PI Motion”), filed concurrently herewith (ECF No. 21). Specifically, Plaintiffs

respectfully request an order:

      1.     Establishing the following expedited briefing schedule for the parties

      with respect to Plaintiffs’ PI Motion:

             a.     Defendants may file an opposing memorandum of no more than

             10,500 words by Friday, June 16, 2023.

             b.     Plaintiffs may file a reply memorandum of no more than 5,250

             words by Thursday, June 22, 2023.

      2.     Setting an expedited hearing on Plaintiffs’ PI Motion at the earliest

      possible date, between Monday, June 26 and Friday, June 30, 2023.


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                                MEMORANDUM

      On July 1, 2023, a new Florida law, SB 264, which imposes discriminatory

prohibitions on the ownership and purchase of real property on people from certain

foreign countries of concern, will take effect. In the accompanying PI Motion,

Plaintiffs seek to invalidate SB 264 and enjoin its enforcement on grounds that SB

264 is unconstitutional and blatantly violates federal law.

      If SB 264 goes into effect without the Court’s intervention, Plaintiffs will

imminently suffer severe irreparable harm for which there is no adequate remedy

at law. See PI Mot. at 48–50. The irreparable harm that Plaintiffs will suffer

includes being forced to cancel the purchases of new homes, which are unique,

irreplaceable lots of real properties; losing nonrefundable deposits; losing

customers; losing business opportunities; being forced to register their properties;

and being subject to the law’s discriminatory and stigmatizing effects. See First

Am. Compl. (ECF No. 17) ¶¶ 59–78, 97, 107, 121, 133.

      Not only will Plaintiffs suffer irreparable harm, but countless others who are

similarly situated to Plaintiffs will immediately suffer from the law’s broad

restrictions, prohibitions, and requirements, under the threat of civil penalties and

severe criminal sanctions. Moreover, owing to the law’s vagueness, there is

substantial amount of uncertainty about the law’s scope and application, which

invites arbitrary enforcement of the law. See PI Mot. at 28–37.



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      There are two components of the new law, in particular, which will affect

the general public as soon as the new law goes into effect on July 1, 2023. First,

the new law’s requirement that all purchasers of real property in Florida, on or

after July 1, 2023, complete an affidavit, under penalty of perjury, in connection

with their purchase of real property, at the time of the purchase, Fla. Stat.

§§ 692.202(5) (agricultural land), .203(6) (real property near military installations

or critical infrastructure), .204(6) (all real property). Second, the new law’s

provisions impose criminal liability for any and all sellers who knowingly sell real

property in violation of the new law, id. §§ 692.202(8) (agricultural land), .203(9)

(real property near military installations or critical infrastructure), .204(9) (all real

property). Both of these components will carry concrete, immediate, and profound

legal consequences for all Floridians, not just Plaintiffs in this case. With the

effects of the law extending far beyond Plaintiffs to every buyer and seller of real

property in Florida, there is a genuine threat that the new law will cast an

immediate, discriminatory chill throughout the housing market. The Court should,

therefore, consider the widespread harm that these aspects of the new law threaten

to have in Florida in granting Plaintiffs’ request for an expedited schedule

regarding Plaintiffs’ PI Motion.

      In view of both the public interest served by resolving these important

questions about the validity of SB 264, as well as the individual interests of



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Plaintiffs in this case to avoid irreparable harm, the Court should set an expedited

schedule for briefing and hearing Plaintiffs’ PI Motion. The Court has the inherent

authority to manage its own docket, as well as broad discretion to expedite

proceedings, such as these, in which time is of the essence. See, e.g., N.D. Fla.

Local Rule 7.1(L) (“A motion that requires a ruling more promptly than would

occur in the ordinary course of business may be labeled an emergency. . . . The

Court may require an expedited response or otherwise amend the schedule as

appropriate.”).

      Here, there is ample good cause for granting Plaintiffs’ request for an

expedited schedule. Unlike a motion for a temporary restraining order, where the

Court must carefully consider whether to grant such a motion without notice, see

Fed. R. Civ. P. 65(b), here, Plaintiffs have fully complied with the notice

requirements with respect to Plaintiffs’ PI Motion, Fed. R. Civ. P. 65(a)(1).

Plaintiffs are simply proposing to shorten the timeframe that Defendants will have

respond to the motion by four days, which is a matter within the Court’s discretion.

      Under the expedited schedule Plaintiffs propose, Defendants will still have

ten days to file their response to the PI Motion. Any argument by Defendants that

they would be prejudiced by granting Plaintiffs’ request for an expedited schedule

is unavailing, and to the extent there is any weight given to it, the Court should

find that the interests of the Plaintiffs and the public in obtaining a ruling on



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Plaintiffs’ PI Motion before SB 264 goes into effect outweighs such a concern.

      SB 264 was signed into law on May 8, 2023 after a short legislative process,

and provides that it will take effect on July 1, 2023, 25 days from now. Such a

brief time period leaves Plaintiffs no choice but to seek an expedited schedule.

      In lieu of the proposed expedition, Plaintiffs have proposed to the State that

the parties agree to a stand-still agreement, such that the challenged law would not

take effect as briefing proceeds and this Court deliberates over the requested

preliminary relief. Because the State has not agreed to that proposal, nothing short

of expedited proceedings will protect Plaintiffs against the imminent irreparable

harm underlying their instant request.

      Ultimately, because of the seriousness of the issues raised in Plaintiffs’ PI

Motion, the imminent, irreparable harm that Plaintiffs face, and the widespread

harm that SB 264 threatens to have on the public at large, the Court is warranted in

granting Plaintiffs’ request for an expedited briefing and hearing schedule.

                                 CONCLUSION

      For the foregoing reasons, good cause being shown, Plaintiffs respectfully

request that the Court grant Plaintiffs’ motion for an expedited briefing schedule

and hearing on Plaintiffs’ Emergency Motion for a Preliminary Injunction, filed

concurrently herewith.




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                    LOCAL RULE 7.1(F) CERTIFICATION

      This memorandum contains 1,366 words.

           LOCAL RULE 7.1(B) CERTIFICATE OF CONFERRAL

      Plaintiffs’ counsel conferred with counsel for Defendants, who oppose the

relief sought in this motion.



Respectfully submitted this 6th day of June, 2023,


 /s/ Nicholas L.V. Warren

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